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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

JACKSONVILLE DIVISION
FRED THOMPSON,
CASE NO.:
Plaintiff,
Vv.
DEMAND FOR JURY TRIAL
AT&T CORP. and AFNI, INC.,
Defendants.
/
COMPLAINT

1. This is a case brought by Plaintiff, FRED THOMPSON under the Florida
Consumer Collection Practices Act (““FCCPA”) and the Fair Debt Collection Practices Act
(“FDCPA”). This Court has jurisdiction over the Plaintiff's claims pursuant to 28 U.S.C. § 1331
(b), 15 U.S.C. § 1692k, and 28 U.S.C. § 1334 (b).

JURISDICTION AND VENUE
2. Jurisdiction of this Court arises under 28 U.S.C. § 1331 because the Complaint alleges
federal claims and requires the resolution of substantial question of federal law.
a Moreover, this case is a civil action arising under the law of the United States over which

this Court has original jurisdiction under 28 U.S.C. § 1331.

4, In addition, the Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d) and pursuant to 28

U.S.C. § 1367 for pendent state law claims.

5. Venue in this District is proper because this is the District where a “substantial part of the
events or omissions giving rise to the claim occurred.” 28 U.S.C. § 1391(b)(2). Venue is
also proper in this District because the acts and transactions occurred here, Plaintiff resides

here, and Defendants transact business here.
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PARTIES

Plaintiff is a natural person and a resident of Duval County, Florida. At all times material
hereto, Plaintiff was a “debtor” or “consumer” as defined by Fla. Stat. § 559.55(2) and 15
U.S. Code § 1692a. Plaintiff has standing to bring a claim under the FCCPA and the FDCPA
because he was directly affected by violations of these Acts, and was subjected to
Defendants’ illegal and improper debt collection activities.
Defendant AT&T CORP. is a New York corporation specializing in telecommunications,
based in Bedminister, NJ.
Defendant AT&T CORP. is a “creditor” as it is defined in Fla. Stat. §559.55(5) and is a
“debt collector” as it is defined under 15 USC 1692a(6).
Defendant AFNI, INC. is an Illinois corporation specializing in debt collection and based
in Bloomington, IL.

FACTUAL ALLEGATIONS
Prior to April 2019, an identity thief opened a fraudulent AT&T account and charged
$7,106.50 to it.
Plaintiff was contacted about this debt by AT&T and promptly disputed the ownership of
the account.
On or about April 15, 2019, defendant AT&T responded to his disputes and found that the
account was indeed fraudulent. The Defendant then sent a letter regarding this decision,
adding that Plaintiff was “not responsible for this bill” and that their outside collection
agency had been notified. See Exhibit A.

Following April 15, 2019, by all accounts, Plaintiff no longer owed a debt to AT&T.
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On or about January 3, 2021, AT&T began billing Plaintiff once again for the same
$7,106.50 Debt. Defendant AT&T also directed its collection agency, Defendant AFNI,
INC., to send debt collection letters to Plaintiff. See Exhibit B.
Plaintiff was specifically told by AT&T that (1) he did not owe this Debt and (2) that AT&T
had informed its debt collector of this fact.
In the case at bar, this Defendant attempted to collect on a debt that was not owed and that
Defendant AT&T itself had found to be identity theft.
Upon information and belief, Defendant AT&T employs a nationwide business model
and/or computer software platform that systematically permits AT&T to indiscriminately
seek payment for debts it admits the consumer does not owe, despite having knowledge
of this fact.
Upon information and belief, Defendant AFNI, INC. employs a nationwide business model
and/or computer software platform that systematically permits it indiscriminately seek
payment for debts the consumer does not owe, despite having knowledge of this fact.
COUNT I: VIOLATION OF THE FLORIDA CONSUMER COLLECTION

PRACTICES ACT, FLA. STAT. § 559.55 et seg. (“S“FCCPA”)

(AT&T)

Plaintiff repeats and re-alleges each and every allegation contained in paragraphs 1 through
18 above as if fully set forth herein.
“The Consumer Collection Practices Act is a laudable legislative attempt to curb what the
Legislature evidently found to be a series of abuses in the area of debtor-creditor relations.”
Harris v. Beneficial Finance Co. of Jacksonville, 338 So. 2d 196, 200-01 (Fla. 1976).

At all times material herein, Plaintiff's debt was a “debt” or “consumer debt” as defined

by Fla. Stat. § 559.55(6).
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At all times material herein, Defendant AT&T was a “person” as referred to under Fla.
Stat. § 559.72.

The FCCPA uses the same definitions as the Fair Debt Collection Practices Act (FDCPA)
for “consumer”, “debt collector”, and “debt or consumer debt”. Fla. Stat. §§ 559.55(1), (2),
and (6). The FCCPA expressly recognizes its interplay with the FDCPA, stating that “[t]his
part is in addition to the requirements and regulations of the federal act”, and directs that
“ijn the event of any inconsistency between any provision of this part and any provision
of the federal act, the provision which is more protective of the consumer or debtor shall
prevail.” Fla. Stat. §559.552.

Among the FCCPA’s enumerated prohibitions, the relevant sections are as follows:
Prohibited practices generally. In collecting consumer debts, no person shall:

(7) “... willfully engage in other conduct which can reasonably be expected to
abuse or harass the debtor or any member of her or his family.”

(9) “..., or assert the existence of some other legal right when such person knows

that the right does not exist.

Fla. Stat. §559.72(7)(9).

Defendant AT&T sent Plaintiff a billing statement which states that he owed a total amount
due of $7,106.50. See Exhibit C. AT&T had proof that Plaintiff did not owe this amount.
Defendant AT&T had knowledge of the fraud regarding his Debt.

By demanding payment for a discharged debt, Defendant AT&T has violated Fla. Stat. §
559.72(7) and (9) by “willfully engag[ing] in other conduct which can reasonably be
expected to abuse or harass” the Plaintiff and also “..., or assert the existence of some other

legal right when such person knows that the right does not exist.”
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As a direct and proximate result of Defendant AT&T’s FCCPA violations, Plaintiff has
been harmed.

Defendant’s illegal and abusive collection communications as more fully described above
were the direct and proximate cause of emotional distress on the part of Plaintiff.

Plaintiff has suffered actual damages as a result of these illegal collection communications
by the Defendants in the form of anger, anxiety, emotional distress, fear, frustration, upset,
humiliation, embarrassment, amongst other negative emotions, as well as suffering from
unjustified and abusive invasions of personal privacy.

Plaintiff is entitled to statutory damages of $1,000 per individual and attorney’s fees and
costs pursuant to Fla. Stat. § 559.77(2).

Because Defendant AT&T’s actions were intentional, willful and/or without regard for
Plaintiff's rights, Plaintiff reserves the right to seek punitive damages upon the showing of

the records of evidence sufficient to form the basis of a claim for punitive damages.

WHEREFORE, Plaintiff prays that the Court enter an Order:

a.

for an award of actual damages pursuant to Section 559.77 against Defendant and for
Plaintiff;

for an award of statutory damages of $1,000.00 pursuant to Section 559.77 against
Defendant and for Plaintiff;

for an award of costs of litigation and reasonable attorney's fees pursuant to Section
559.77 against Defendant and for Plaintiff; and

for such other relief as this Court deems just and proper.
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COUNT II: VIOLATION OF THE FLORIDA CONSUMER COLLECTION

PRACTICES ACT, FLA. STAT. § 559.55 et seg. (““FCCPA”)

(AFNI)

Plaintiff repeats and re-alleges each and every allegation contained in paragraphs 1 through
18 above as if fully set forth herein.
“The Consumer Collection Practices Act is a laudable legislative attempt to curb what the
Legislature evidently found to be a series of abuses in the area of debtor-creditor relations.”
Harris v. Beneficial Finance Co. of Jacksonville, 338 So. 2d 196, 200-01 (Fla. 1976).
At all times material herein, Plaintiff was “debtors” or “consumers” as defined by Fla. Stat.
§ 559.55(8).
At all times material herein, Plaintiff's debt was a “debt” or ““consumer debt” as defined
by Fla. Stat. § 559.55(6).
At all times material herein, Defendant was a “person” as referred to under Fla. Stat. §
559.72.
The FCCPA uses the same definitions as the Fair Debt Collection Practices Act (FDCPA)
for “consumer”, “debt collector”, and “debt or consumer debt”. Fla. Stat. §§ 559.55(1), (2),
and (6). The FCCPA expressly recognizes its interplay with the FDCPA, stating that “[t]his
part is in addition to the requirements and regulations of the federal act”, and directs that
“[iJn the event of any inconsistency between any provision of this part and any provision
of the federal act, the provision which is more protective of the consumer or debtor shall
prevail.” Fla. Stat. §559.552.
Among the FCCPA’s enumerated prohibitions, the relevant sections are as follows:

Prohibited practices generally. In collecting consumer debts, no person shall:

(7) “... willfully engage in other conduct which can reasonably be expected to
abuse or harass the debtor or any member of her or his family.”
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(9) “..., or assert the existence of some other legal right when such person knows

that the right does not exist.

Fla. Stat. §559.72(7)(9).

Defendant AFNI sent Plaintiff a letter which attempted to collect on a debt that the
Defendant AFNI had notice Plaintiff did not owe. See Exhibit C.

Upon information and belief, Defendant AFNI had knowledge of Plaintiff not owing the
debt when it began collecting.

By demanding payment for a debt which Plaintiff did not owe, Defendant AFNI has
violated Fla. Stat. § 559.72(7) and (9) by “willfully engag[ing] in other conduct which can
reasonably be expected to abuse or harass” the Plaintiff and the AFNI FCCPA Class and
also “..., or assert the existence of some other legal right when such person knows that the
right does not exist.”

Defendant’s illegal and abusive collection communications as more fully described above
were the direct and proximate cause of emotional distress on the part of Plaintiff.
Plaintiff has suffered actual damages as a result of these illegal collection communications
by the Defendants in the form of anger, anxiety, emotional distress, fear, frustration, upset,
humiliation, embarrassment, amongst other negative emotions, as well as suffering from
unjustified and abusive invasions of personal privacy.

As a result of Defendant's violations of the FCCPA, Plaintiff is entitled to actual damages
and statutory damages in an amount up to $1,000.00 and reasonable attorney's fees and
costs pursuant to Section 559.77 from Defendant.

Additionally, Section 559.77 provides a court may award punitive damages as well as

equitable relief to Plaintiff such as enjoining further illegal collection activity.
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PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

. for an award of actual damages pursuant to Section 559.77 against Defendant and for

Plaintiff;

. for an award of statutory damages of $1,000.00 pursuant to Section 559.77 against

Defendant and for Plaintiff;
for an award of costs of litigation and reasonable attorney's fees pursuant to Section 559.77

against Defendant and for Plaintiff; and

. for such other relief as this Court deems just and proper.

COUNT I: VIOLATIONS OF THE FAIR DEBT
COLLECTIONS PRACTICES ACT
(AFNI)
Plaintiff repeats and re-alleges each and every allegation contained in paragraphs 1 through
18 above as if fully set forth herein.
Plaintiff is a consumer as that term is defined by 15 U.S.C. §1692(a)(3).
Defendant AFNI is a "debt collector" as defined by the 15 U.S.C.A. § 1692a(6).
At all material times herein, Defendant attempted to collect a consumer debt allegedly
incurred by Plaintiff.
At all material times herein, the Debt is a consumer debt obligation resulting from a
transaction for goods or services and incurred primarily for personal, household, or family
use.

At all material times herein, Defendant AFNI’s conduct, with respect to the debt

complained of, qualifies as “communication” as defined 15 U.S.C. §1692a(2).
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This is an action seeking relief for violation of the FDCPA to recover statutory
damages under 15 U.S.C.A. § 1692k(a)(2)(B) and attorney's fees and costs of this action
under 15 U.S.C.A. § 1692k(a)(3).

The collection letter, Exhibit C, is a “communication” as that term is defined by 15 U.S.C.
§ 1692a(2). At all material times herein, Plaintiff ‘s debt was consumer debt as defined
by the FDCPA, 15 U.S.C.A. § 1692a(5).

Defendant attempted to collect on debt it knew was not owed by Plaintiff.

By misrepresenting the status of the debt as collectible and attempting to collect a debt that
was not owed, Defendant violated:

a. 15 U.S.C. §1692e, generally (“A debt collector may not use any false, deceptive,
or misleading representation or means in connection with the collection of any
debt);

b. 15 U.S.C §1692e(2)(A) (“The false representation of . . . the character, amount, or
legal status of any debt’); and

c. 15 U.S.C. §1692d, generally (“A debt collector may not engage in any conduct the
natural consequence of which is to harass, oppress, or abuse any person in
connection with the collection of a debt”).

As a direct and proximate result of Defendant's FDCPA violations, Plaintiff has been
harmed. Plaintiff is entitled to statutory damages, actual damages including emotional
damages and any money paid to Defendant on the improper debt under 15 U.S.C. §
1692k(a)(2)(B) and attorney’s fees and the costs of this action pursuant to 15 U.S.C. §

1692k(a)(3).
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58. For the purpose of the claims brought in this action, the applicable standard under the
FDCPA is “the least sophisticated” consumer test. See Jeter v. Credit Bureau, Inc., 760 F.2d
1168, 1172-75 (11th Cir. 1985).

WHEREFORE, Plaintiff prays that the Court grant the following relief in favor of Plaintiff

and against Defendant:

a) For actual damages;

b) For compensatory damages;

c) For statutory damages;

d) For punitive damages;

e) For attorney’s fees and costs incurred in this action;

f) For such other and further relief as the Court may deem just and proper.

JURY DEMAND

Plaintiff demands a trial by jury on all issues herein.

/s/ Max Story, Esq.

Max Story (Fl. Bar No. 0527238)
Austin J. Griffin (Fl. Bar No. 117740)
Max Story PA

328 2™ Avenue North
Jacksonville Beach, Florida 32250
(904) 372-4109

(904) 758-5333
max@storylawgroup.com
austin@storylawgroup.com
Counsel for Plaintiff

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the forgoing was electronically
filed with the Clerk of Court by using the CM/ECF system which will send notice of electronic

filing to all counsel of record, this 21‘ of May, 2021.

/s/ Max Story, Esq.
Florida Bar: 0527238

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contacted t us regarding a bill in your: name dated 11 on ‘0
561 owed to AT&T in the amount of $7,

 
DEPT 555
PO BOX 4115
CONCORD CA 94524

PNA AE OO

01-27-2021

ADDRESS SERVICE REQUESTED

FRED M THOMPSON

MAX STORY
328 2ND AVE N
JACKSONVILLE FL 32250-5549

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afni.

1310 Martin Luther King Drive
PO Box 3517
Bloomington, IL 61702-3517

Afni, Inc. Account #: 079544027-01

Creditor: AT&T
Creditor Account #: | 523312071561

Balance Due: $7,106.50

We received your dispute regarding the above referenced matter. We investigated your dispute and verified the
account information is accurate. This letter serves as verification of the account.

We have verified with the creditor the following information:

Current Creditor: AT&T
Original Creditor: AT&T
PO BOX 2767

HOUSTON, TX 772522767

Creditor Account #: 523312071561
Balance: $ 7,106.50

If you have any questions regarding this account, please contact our office toll free at (877) 859-8781 Monday —

Friday 7am-7pm Central.

Note: These are general hours and are subject to change. We look forward to helping you resolve this matter.

This communication is from a debt collector.
All conversations with Afni may be recorded.

Sincerely,
Afni, Inc.

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ee FRED M. THOMPSON
—_7 AT&T

9745 TOUCHTON RD UNIT 622
JACKSONVILLE, FL 32246-4493

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Page:
Issue Date: Jan 03, 2021
Account Number: 523312071561

EXHIBIT

Total due

 

Account summary

Your last bill

$7,106 50

 

Past due - please pay immediately

Total due

Ways to pay and manage your account:

2 Call 611 or
800.331.0500
TTY: 866.241.6567

0 myAT&T app fo att.com/pay

™ iPhone and Android

FRED M. THOMPSON
9745 TOUCHTON RD UNIT 622
JACKSONVILLE, FL 32246-4493

SS ater

O) CHECK FOR AUTOPAY
(SEE REVERSE)

$7,106.50
$7,106.50
Due immediately: $7,106.50
Due Jan 26, 2021: $0.00
$7,106.50

Scan to pay

   

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Return this portion with your check in the enclosed envelope. Payments may take 7 days to post.

Total due: $7,106.50

Due immediately: $7,106.50 Due Jan 26, 2021: $0.00
Account number: 523312071561

Please include account number on your check

Make check payable to:

AT&T MOBILITY
PO Box 536216
Atlanta, GA 30353-6216

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SS AT&T

News you can use

Final bill credit

If you have a credit balance on your final bill, the refund will be issued within
two bill cycles. If your refund is not received after 60 days from your final bill
date, please visit resolve.att.com to submit a refund request. If you have any
questions, please call AT&T at 800.288.2020.

Important information

Late payment fee
The late payment fee for consumer and Signature bills not paid in full by the
payment due date is up to $7.00.

Electronic check conversion

Paying by check authorizes AT&T to use the information from your check

to make a one-time electronic fund transfer from your account. Funds may
be withdrawn from your account as soon as your payment is received. If

we cannot process the transaction electronically, you authorize AT&T to
present an image copy of your check for payment. Your original check will be
destroyed once processed. If your check is returned unpaid you agree to pay
such fees as identified in the terms and conditions of your agreement, up to
$30. Returned checks may be presented electronically.

Surcharges and other fees

AT&T imposes additional charges on a per line basis, including federal and
state universal service charges, an Administrative Fee (to defray certain
expenses including charges AT&T or its agents pay to interconnect with
other carriers to deliver calls from AT&T customers to their customers,
and charges associated with cell site rents and maintenance), and a
Regulatory Cost Recovery Charge (to recover costs of compliance with
certain government imposed regulatory requirements, including Wireless
Number Portability and Number Pooling, and E911). These fees are not
taxes or charges that the government requires AT&T to collect from its
customers. See att.com/mobilityfees for details.

AT&T Mobility Center for customers with disabilities
Questions on accessibility by persons with disabilities: 866.241.6568.

written correspondence

Do not send notes/letters with payment. We cannot guarantee receipt. Send
notes/letters to AT&T, P.O. Box 5074, Carol Stream, Illinois 60197-5074 or FAX
314.242.0792.

Wireless DirectBill charges

Detail of DirectBill charges can be viewed at att.com/db. The direct billing
option offers you the ability to purchase content, goods and features such
as apps, games, donations, and services from AT&T and other companies by
applying charges to your wireless account.

Tax ID
AT&T Mobility Tax ID XX-XXXXXXX

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Jan 03, 2021
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Issue Date:
Account Number:

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